                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                 AT
                                       --------------

                                                )
                                                                       a
                                                                    f.' 3-'°V -;tJ. V
                                                )

                                                )
                                                                         CEAjuts
     (Enter above the NAME of the
      plaintiff in this action.)                )

          V.                                    )

                                                )

                                                )

                                                )
     (Enter above the NAME of each
      defendant in this action.)                )

                          COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                   (42 U.S.C. Section 1983)

I.        PREVIOUS LAWSUITS

          A.     Have you begun other lawsuits in state or federal court dealing with the same facts
                 involved in this action or otherwise relating to your imprisonment? YES ( ) NO (

          B.    If your answer to A is YES, describe the lawsuit in the space below. (If there is more
                than one lawsuit, describe the additional lawsuits on another piece of paper, using the
                same outline.)

                 I.     Parties to the previous lawsuit:

                        Plaintiffs:
                                      - - - -/ 't"- - - - - - - - - - - - - - - - - - - - - -




Case 1:23-cv-00226-CEA-CHS Document 2 Filed 10/02/23 Page 1 of 5 PageID #: 5
            2.      COURT: (If federal court, name the district; if state com1, name the county):




            3.      DOCKET NUMBER: - - - - ' - ~ - - - - - - - - - - - - - - - -
                                                                               }
            4.     Name of Judge to whom case was assigned: ___
                                                              r\J~l'--'/,~'l_ _ _ _ _ _ _ __
                                                                           !




            5.     Disposition: (For example: Was the case dismissed? Was it appealed'? ls it still
                   pending?) _ __,_i'"..:_l.,. ,/_;_P\_·_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            6.     Approximate date of filing lawsuit: _ ________,_r,CC..J"-/"--/1_·_ _ _ _ _ _ _ _ _ __

            7.     Approximate date of disposition: - - - ~ - - - - - - - - - - - - -




      A.   Is there a prisoner grievance procedure in this institution? YES         NO ( )

      B.   Did you present the facts relating to your complaint in the prisoner grievance procedure?
           YES ( ) NO ( )

      C.   If your answer is YES,

           I.      What steps did you take? - ~ r _ J ~ - - - - - - - - - - - - - - - - -




           2.      What was the result?
                                          --~------------------



     D.    If your answer to B is NO, explain why not. - ~ t _ • , J - - ' - - - - - - - - - - - - -




     E.    If there is no prison grievance procedure in the institution, did you complain to the
           prison authorities? YES ( ) NO ( )

     F.    If your answer is YES,
                                                     1   i }\
           I.     What steps did you take?   -~----,j    /~J-~----------------




                                                2



Case 1:23-cv-00226-CEA-CHS Document 2 Filed 10/02/23 Page 2 of 5 PageID #: 6
                                                             ~


                 2.     What was the result? - - -;sl/j}.
                                                   --"--+-"----------------------




 III.    PAR TIES

         (In item A below, please your name in the first blank and place your present address in the
         second blank. Do the same for any additional plaintiffs.)
                                         r-   t   /''       r,..,,_
         A.     Name of plaintiff: ___:. ._·._'t_!~'_..&=1'·~·'-•=·"-'~v~\_._·"~'t-·~--------------




        (In item B below, place the FULL NAME of the defendant in the first blank, his official
        position in the second blank, and his place of employment in the third blank. Use item C for
        the additional names, positions, and places of employment of any additional defendants.)




                Place of employment: ------'-----'---...:._.--'--'-----"-'---'-----"----

        C.      Additional defendants:
                                         ------------------------




IV.     STATEMENT OF CLAIM

        ( State here as briefly as possible the FACTS of your case. Describe how EACH defendant is
        involved. Include also the names of other persons involved, dates and places. DO NOT give
        any legal arguments or cite any cases or statutes. If you intend to allege a number of related
        claims, number and set forth each claim in a separate paragraph. Use as much space as you
        need. Attach extra sheets, if necessaiy.)




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Case 1:23-cv-00226-CEA-CHS Document 2 Filed 10/02/23 Page 3 of 5 PageID #: 7
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Case 1:23-cv-00226-CEA-CHS Document 2 Filed 10/02/23 Page 4 of 5 PageID #: 8
V.    RELIEF

      (State BRIEFLY exactly what you want this Court to do for you. Make NO legal arguments.

       Cite NO cases or statutes.)


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                    ')

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      I (We) hereby certify under penalty of perjury that the above complaint is true to the best of
      my (our) information, knowledge and belief.

     Signed this _ _ _-_'_______ day




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Case 1:23-cv-00226-CEA-CHS Document 2 Filed 10/02/23 Page 5 of 5 PageID #: 9
